        Case 4:14-cr-00232-DPM     Document 140    Filed 03/10/15      Page 1 of 1
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                                                                        U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT ARK.ANIA~


                                                                        MAR 1o 2015
                    IN nIB UNITED STATES DISTRICT COUR'-T.M~···.RK
                   FOR THE EASTERN DISTRICT OF ARKANS       )  ~
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UNITED STATES OF AMERICA

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BEFORE U. S. MAGISTRATE JUDGE J. THOMAS RAY
LITILE ROCK, ARKANSAS
COURTROOM#IC



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ASSISTANTU.S.ATTORNEY:         ~                 ~
u. s. PROBATION   OFFICER~al}jj
DEFENSE COUNSEL: fltJ_;;                     -

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ECRO/CRD: Kathy Swanson
